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        EXHIBIT B
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Hutchinson Sealing Systems, Inc                                                PURCHASE ORDER
3201 Cross Creek Parkway
Auburn Hills, MI 48326                                      P.O. Number:     P097845
Phone: 248-375-3720                                         Revision #:
                                                            Date:            September 16, 2020


VENDOR:                                                     SHIP TO:
ADVANCED CONTROL SOLUTION                                      CHURCH HILL SHIP TO:
1400 WILLIAMS DR.                                              HUTCHINSON SEALING SYSTEMS INC (CH)
MARIETTA GA 30066
                                                                    309 PRESS ROAD
                                                                    CHURCH HILL TN 37642

Order Placed With                                           BILL TO:
          Alex Gillian                                          CHURCH HILL BILL TO:
Phone:    770-956-7202                                          HUTCHINSON SEALING SYSTEMS INC
Fax:                                                            hssap.invoices@hutchinsonna.com
                                                                309 PRESS ROAD
                                                                CHURCH HILL TN 37642

Vendor #                 Ship Via                 Incoterms                 Terms                   Delivery Date
R00142                   CH ROBINSON              Ship Point                NET 30TH PROX           See Body
Special Charges          Buyer                    Buyer Phone               Buyer Email
                         MICHAEL BELL             1-423-357-2021            michael.bell@hutchinsonna.com


PO Comments
      Requisitioned by Randy Atchley on E-Req # R130752
      Supplier - Please ship UPS using account # X492W1. If not eligible for
      UPS, please contact CH Robinson @ 1-865-246-6849 or email:
      hutchinson-sna@chrobinson.com to schedule a delivery. Thank you!
      Receiving Instructions - Attn: Randy Atchley

                                                                                                              DELIVERY
PART NUMBER                  DESCRIPTION                       QTY U/M UNIT PRICE CUR              AMOUNT
                                                                                                                DATE
WA000             GENERIC EQUIPMENT                             3.00 EA    42,400.0000 USD        127,200.00 11/20/2020
                  Part no. 10021 MIR200 with 2
                  batteries: Incl. International
                  freight/fees, per quote PROJ-25356/2-1
                  dated Sept 11, 2020.
WA000             GENERIC EQUIPMENT                             2.00 EA     3,900.0000 USD          7,800.00 11/20/2020
                  Part no. 130006 MIR charge 24v: incl.
                  Intl Freight/Fees (MIR100/200 only),
                  per quote PROJ-25356/2-1 dated Sept 11,
                  2020.
WA000             GENERIC EQUIPMENT                             1.00 EA     9,050.0000 USD          9,050.00 11/20/2020




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Hutchinson Sealing Systems, Inc                                 P.O. Number:   P097845
                                                                                                    DELIVERY
PART NUMBER              DESCRIPTION                       QTY U/M UNIT PRICE CUR         AMOUNT
                                                                                                      DATE
               Part no. 130020 MiR fleet server (max.
               100 robots), per quote PROJ-25356/2-1
               dated Sept 11, 2020.


WA000         GENERIC EQUIPMENT                             3.00 EA      9,319.0000 USD   27,957.00 11/20/2020
               Part no. 265a2400 TMC300 Ext top
               module for Cart300. Ensures access to
               emergency stop with cargo up to 1, 2m,
               E,G, Euro pallets with Cart300 rails,
               per quote PROJ-25356/2-1 dated Sept 11,
               2020.
WA000         GENERIC EQUIPMENT                            16.00 EA      1,989.0000 USD   31,824.00 11/20/2020
               Part no. 265a3100 Carts with mechanism
               for easily removable dock station, per
               quote PROJ-25356/2-1 dated Sept 11, 2020


WA000         GENERIC EQUIPMENT                            16.00 EA        800.0000 USD   12,800.00 11/20/2020
               Part no. 265a1400 Cart300 rails for
               pallet transportation, per quote
               PROJ-25356/2-1 dated Sept 11, 2020.


WA000         GENERIC EQUIPMENT                            12.00 EA      1,204.5700 USD   14,454.84 11/20/2020
               Part no. 265a6100 Floor mounted
               docking station for Rack, per quote
               PROJ-25356/2-1 dated Sept 11, 2020.


WA000         GENERIC EQUIPMENT                            10.00 EA        500.0000 USD    5,000.00 11/20/2020
               Part no. MISCITEM Wise 4 button I/O
               box, per quote PROJ-25356/2-1 dated
               Sept 11, 2020.


                                                                                TOTAL              236,085.84




Subject to Hutchinson Sealing Systems General Terms &      PURCHASE ORDER WILL BE HONORED FOR ITEMS,
Conditions at http://www.hutchinsonsealing-                SERVICES, AND/OR PRICES LISTED. GOODS AND/OR
purchasing.com                                             SERVICES THAT ARE PROVIDED BEYOND THE
                                                           APPROVED AMOUNT ARE THE SUPPLIER'S
                                                           RESPONSIBILITY.




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